                      Case 4:08-cr-00102-BAE-GRS Document 40 Filed 12/04/08 Fu_F:D
                                                                             Page 1 of 5
  A() 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants                             U.S.         I COURT
            Sheet!                                                                                              5.::.



                                          United States District Cih                                                       MI 9: L6

                                                        SOUTHERN DISTRICT OF GEORGIA
                                                             SAVANNAH DIVISION

            UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                        V.                                                         (For Organizational Defendants)



            Global Pigeons Supply                                                  CASE NUMBER:                       CR408-00 102-001

                                                                                   Harry D. DixoJr.
                                                                                   Defendant Organizations Attorney




  THE DEFENDANT ORGANIZATION:
[XJ         pleaded guilty to count   .
   I        pleaded nob contendere to count(s) - which was accepted
            by the court.
     I      was found guilty on count(s)_ after a plea of not guilty.

  The organizational defendant has been convicted of the following offense:


            Title & Section                       Nature of Offense                     Offense Ended                         Count

          18 U.S.C. § 1341                           Mail fraud                         July 24, 2004


            The defendant organization is sentenced as provided in pages 2 through .. of this judgment.
  [I        The defendant organization has been found not guilty on count(s)_.
  Ix'       CountsI throu gh 4 are dismissed on the motion of the United States,

            it is ordered that the defendant organization must notif,' the United States attorney for this district within 30 days of any change
  of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
  are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney of material changes
  in economic circumstances.


   Defendant Organization's                                                        December 3, 2008
   Federal Employer I.D. No.:XX-XXXXXXX                                            Date of Imposition of Judgment


  Defendant Organization's Principal Business Address:
  2301 Rowland Avenue
  Savannah, Georgia 31404                                                           Signature of Judge

                                                                                    B. Avant
                                                                                    United States District Judge
                                                                                    For the Southern District of Georgia
  Defendant Organization's Mailing Address:                                        Name and litle of Judge
  2301 Rowland Avenue
   Savannah, Georgia 31404
                                                                                    Date
                    Case 4:08-cr-00102-BAE-GRS Document 40 Filed 12/04/08 Page 2 of 5
AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants:                                             Judgment-Page 2 of 5
       Sheet 2 Probation

DEFENDANT ORGANIZATiON: Global Pigeons Supply
CASE NUMBER: CR408-00102-OO1
                                                                   PROBATION
The defendant organization is hereby sentenced to probation for a term of:       5 years.




The defendant organization shall not commit another federal, state or local crime.




   Ifthisjudgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization pay in accordance
with the Schedule of Payments sheet of this judgment.




   The defendant organization must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page (if indicated below).




                                          STANDARD CONDITIONS OF SUPERVISION

1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act as
   the organization's representative and to be the primary contact with the probation officer;

2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
   officer;

3) the defendant organization shall notili the probation officer ten days prior to any change in principal business or mailing address;

4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;

5) the defendant organization shall notif' the probation officer within seventy-two hours of any criminal prosecution, major civil litigation,
   or administrative proceeding against the organization;

6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this judgment
   and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the defendant's
   successors or assignees; and

7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.
                   Case 4:08-cr-00102-BAE-GRS Document 40 Filed 12/04/08 Page 3 of 5
AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Detndants:                      Judgment-Page 3 of 5
         Sheet 2B - Probation

DEFENDANT ORGANIZATION: Global Pigeons Supply
CASE NUMBER: CR408-00102-OO1
                                           SPECIAL CONDITIONS OF SUPERVISION



1. The organization shall make periodic submissions to the Court or probation officer, at intervals specified by
   the Court, reporting on the organization's financial condition and results of business operations, and
   accounting for the disposition of all funds received.

2. The organization shall submit to a reasonable number of unannounced examinations of its books and records
   at appropriate business premises by the probation office or experts engaged by the Court; and to interrogation
   of knowledgeable individuals within the organization. Compensation to and costs of any experts engaged by
   the Court shall be paid by the organization.

3. The organization shall be required to notify the Court or probation officer immediately upon learning of any
   material adverse change in its business or financial condition or prospects, or the commencement of any
   bankruptcy proceeding, major civil litigation, criminal prosecution, or administrative proceeding against the
   organization, or any investigation or formal inquiry by governmental authorities regarding the organization.




                                                           ACKNOWLEDGMENT

Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, andlor (3) modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



    (Signed)                                                                    -
                    Defendant                                                   Date




                    U. S. Probation Officer/Designated Witness                  Date
                     Case 4:08-cr-00102-BAE-GRS Document 40 Filed 12/04/08 Page 4 of 5
AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants:                                                 JudgmentPage 4 of 5
       Sheet 3 Criminal Monetary Penalties

DEFENDANT ORGANIZATION: Global Pigeons Supply
CASE NUMBER: CR408-00102-OO1

                                                CRtMINAL MONETARY PENALTIES

            The defendant organization must pay the following total criminal monetary penalties under the schedule of payments on Sheet 4.
                                                                Assessment                    Fine                 Restitution

 Totals:                                                                 $400             $22,500

       The determination of restitution is deferred until__. An Amended Judgment in a Criminal Case (AO 245C) will be entered after
      such determination.

      The defendant organization shall make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless
             specified otherwise in the priority order or percentage payment column below, However, pursuant to 18 U.S.C. § 3664(i), all
             nonfederal victims must be paid before the United States is paid.


                Name of Payee                        Total Loss*                 Restitution Ordered             Priority or Percentage




                   Totals:


                       Restitution amount ordered pursuant to plea agreement              $ ______

[XI                    The defendant organization shall pay interest on restitution or a fine of more than $2,500, unless the restitution or fine
                       is paid in full before the fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
                       options on Sheet 4 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).
                       The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:

        I              The interest requirement is waived for the [ I fine [ } restitution.
                       The interest requirement for the [ I fine [ I restitution is modified as follows:


** Findings for the total amount of losses are required under Chapters 1 09A, II 0. II OA and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                      Case 4:08-cr-00102-BAE-GRS Document 40 Filed 12/04/08 Page 5 of 5
AO 245E (Rev 12/03) Judgment in a Criminal Case for Organizational Defendants:                                             Judgment-Page 5 of 5
         Sheet 4 - Schedule of Payments

DEFENDANT ORGANIZATION: Global Pigeons Supply
CASE NUMBER: CR408-00102-OOl

                                                       SCHEDULE OF PAYMENTS

Having assessed the organization's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [XJ               Lump sum payment of$ 4Q_ due immediately, balance due

               not later than _; or
           [X] in accordance with [ } C or [X 1 D below; or

B[]                 Payment to begin immediately (may be combined with J C or [ 1 D below); or

C[I                 Payment in - (e.g., equal, weekly, monthly, quarterly) installments ofj....over a period of_ (e.g., months or years),
                    to commence - (e.g., 30 or 60 days) after the date of this judgment; or

D [X] Special instructions regarding the payment of criminal monetary penalties: The defendant does not have the ability to
                pay a fine within the guideline range; however, it does have the ability to pay the sum of$ 22,500. While on probation,
                the defendant corporation shall make minimum monthly payments of$ L875 during the firstj2 months of the probation
                term. Payments are to be made payable to the Clerk, United States District Court.


All criminal monetary penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



   J                Joint and Several

   Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
   corresponding payee, if appropriate.


                    The defendant organization shall pay the cost of prosecution.

                    The defendant organization shall pay the following court cost(s):


[X] The defendant organization shall forfeit its interest in the following property to the United States: This Court's
  Preliminary Order ofForfeiture entered on September II ,2008, is incorporated into this judgment by specific reference, which includes
  the defendant's consent to forfeit to the Government $53,000.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
